    Case 2:22-cv-07775-JWH-KES Document 238 Filed 05/17/23 Page 1 of 4 Page ID #:2711

Name and address:

                 Christina N. Goodrich (SEN 261722)
                           K&L GATES LLP
               10100 Santa Monica Boulevard, Sth Floor
                    Los Angeles, California 90067

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                            CASE NUMBER
ENTROPIC COMMUNICATIONS, LLC
                                                         Plaintiff(s),                         2:22-cv-07775-JWH-JEM

                  V.

                                                                              APPLICATION OF NON-RESIDENT ATTORNEY
DIRECTV, LLC, et al.                                                                TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500fee online at the time offiling (using a credit
    card). The fee is required for each case in which the applicantfiles an Application. Failure to pay the fee at the time offiling will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500fee. (Certain
    attorneys for the United States are also exemptfrom the requirement of applyingfor pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfectformat must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Fuller, Nathan J.         ______________________________________________________________________________________________
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here iffederal government attorney
K&L Gates LLP_____________________________________________________________________________________________________
Firm/Agency Name
70 W. Madison Street, Suite 3300                                         (312) 807-4313                       (312) 827-8000
                                                                         Telephone Number                     Fax Number
Street Address
Chicago, IL 60602                                                                           nathan.fuller@klgates.com
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
Entropic Communications, LLC                                             [x] Plaintiffs) [J Defendant(s) Q Other:
                                                                                                                    Q] Plaintiffs) [J Defendant(s) Q] O
Name(s) ofParty(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

            Name of Court                                Date of Admission          Active Member in Good Standing? (if not, please explain)
Supreme Court of Illinois                                   11/12/2021             Yes




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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title ofAction                             Date ofApplication        Granted / Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:
  N/A




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

                                                                      Nathan J. Fuller
                                                                      Applicant's Name (please type or print)


                                                                                         ire


G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                             Page 2 of 3
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         Case 2:22-cv-07775-JWH-KES Document 238 Filed 05/17/23 Page 3 of 4 Page ID #:2713


      SECTION III - DESIGNATION OF LOCAL COUNSEL
      Goodrich, Christina N.
      Designee's Name (Last Name, First Name & Middle Initial)
      K&L Gates LLP
      Firm/Agency Name
      10100 Santa Monica Boulevard, 8th Floor                           (310) 552-5547                            (310) 552-5001
                                                                        Telephone Number                          Fax Number
      Street Address                                                    christina.goodrich@klgates.com
      Los Angeles, CA 90067                                             Email Address
      City, State, Zip Code                                             261722
                                                                        Designee's California State Bar Number

      I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
      Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
                    Dated May 17, 2023

                                                                        :r"'f'."""
                                                                        Christina N. Goodrich


                                                                        ~~ (srp/Jt;d_
                                                                                         (pt,... typ, o, p,;nt)


                                                                        Designee s Signature
      SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




     G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                        Page 3 of3
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                                 Attorney Registration and Disciplinary Commission
                                                        of the
                                             Supreme Court of Illinois
                                                   www.iardc.org



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                                                                                           Fax (217) 522-2417
       Fax (312) 565-2320




                                                         Chicago
                                                         5/ 17/2023

                                                         Re: Nathan J. Fuller
                                                             Attorney No. 6338992



      To Whom It May Concern:

         The records of the Clerk of the Supreme Court of Illinois and this office reflect that
      Nathan J. Fuller was admitted to practice law in Illinois on 11/12/2021; is currently
      registered on the master roll of attorneys entitled to practice law in this state; ha, never been
      disciplined and is in good standing.




                                                         Very truly yours,
                                                         Jerome Larkin
                                                         Administrator




                                                             Andrew Oliva
                                                             Registrar
